Case 2:20-cv-00983-TSZ Document 75-3 Filed 02/07/22 Page 1 of 6




   EXHIBIT 3
     Case 2:20-cv-00983-TSZ Document 75-3 Filed 02/07/22 Page 2 of 6




                 PROCLAMATION BY THE GOVERNOR
         AMENDING PROCLAMATIONS 20-05, 20-25, 20-25.1, and 20-25.2

                                          20-25.3

                           ADJUSTING AND EXTENDING
                           STAY HOME – STAY HEALTHY
                                 TO MAY 31, 2020

              Safe Start Washington: Phase I – Re-Opening Washington

WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State
of Emergency for all counties throughout the state of Washington as a result of the
coronavirus disease 2019 (COVID-19) outbreak in the United States and confirmed
person-to-person spread of COVID-19 in Washington State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant
progression in Washington State, and the high risk it poses to our most vulnerable
populations, I have subsequently issued amendatory Proclamations 20-06 through 20-52,
exercising my emergency powers under RCW 43.06.220 by prohibiting certain activities
and waiving and suspending specified laws and regulations, including issuance of
Proclamations 20-25, 20-25.1, and 20-25.2 (Stay Home – Stay Healthy), prohibiting all
people in Washington State from leaving their homes or participating in social, spiritual or
recreational gatherings of any kind regardless of the number of participants, and all non-
essential businesses in Washington State from conducting business, within the limitations
therein; and

WHEREAS, the COVID-19 disease, caused by a virus that spreads easily from person to
person which may result in serious illness or death and has been classified by the World
Health Organization as a worldwide pandemic, has broadly spread throughout Washington
State and remains a significant health risk to all of our people, especially members of our
most vulnerable populations; and

WHEREAS, when I last amended the Stay Home – Stay Healthy order (Proclamation 20-
25.2) on April 27, 2020, there were 13,521 cases of COVID-19 in Washington State with
749 deaths; and, just five days later, through May 2, 2020, the Department of Health
confirmed another 1,664 cases and 85 more deaths, for a total of 15,185 cases with 834
associated deaths, demonstrating the ongoing, present threat of this lethal disease; and
     Case 2:20-cv-00983-TSZ Document 75-3 Filed 02/07/22 Page 3 of 6




WHEREAS, while there continues to be a significant number of cases of COVID-19 in
Washington State with associated deaths, the data and epidemiological models predict that
we have passed the peak of the virus’ progression in the state; and, the health experts credit
this decline to the mandatory social distancing practices and prohibitions we have put in
place; and

WHEREAS, the health professionals and epidemiological modeling experts predict that
we have passed the peak of the progression in the state, and the data suggests it is
appropriate to continue a careful, phased, and science-based approach to slowly re-opening
Washington State. In addition, modelers agree that fully relaxing social distancing
measures will result in a sharp increase in the number of cases; and

WHEREAS, this unprecedented health crisis has caused extraordinary anxiety and a
significant disruption of routine and important activities for every Washingtonian; and I
recognize the extraordinary resiliency, strength, adaptability, and courage of every
Washingtonian during this difficult time; and

WHEREAS, many people in Washington State attend religious services on a regular basis.
Such services are a vital part of the spiritual and mental health of our community, and
some of these services can be conducted in a manner similar to comparable secular
activities to prevent prolonged exposure to individuals outside of their immediate
household while ensuring safe social distancing and hygiene practices. And, to help inform
future lifting of additional restrictions in phases, I have directed my staff to engage with a
broad range of religious leaders beginning as soon as this week; and

WHEREAS, the science also suggests that some business activities can be conducted with
limited exposure to customers while ensuring safe social distancing and hygiene practices.
These business activities include landscaping, pet walking, car washing, vehicle and vessel
sales, and retail limited to curb-side pickup, all of which are important to revitalizing
Washington State’s economy, restoring jobs and providing necessary goods and services;
and

WHEREAS, counties in Washington State with lower population density generally are
experiencing a lower transitory population which decreases the risk of virus spread and,
under appropriate conditions, are able to control and absorb virus outbreaks within the
capacity of existing local and regional health care systems without significant increased
risk of being overwhelmed; and

WHEREAS, the Washington State Department of Health’s data demonstrates that some
less-populated counties with fewer than 75,000 residents have not identified a new
COVID-19 case for the last three consecutive weeks, and this data supports providing
those counties with an opportunity to lift additional restrictions, subject to certain
conditions and requirements, an opportunity that is not yet safe to offer to other counties;
and
     Case 2:20-cv-00983-TSZ Document 75-3 Filed 02/07/22 Page 4 of 6




WHEREAS, based on the science and data, current COVID-19 pandemic conditions now
permit further adjustment of the prohibitions in Proclamations 20-25, 20-25.1 and 20-25.2
to allow for resumption of some religious services and certain business activities, and the
opportunity for less densely populated counties that have not identified a resident with
COVID-19 in the last three weeks to seek additional exceptions to these prohibitions under
certain limited circumstances, while retaining the remainder of the restrictions imposed in
Proclamations 20-25, 20-25.1 and 20-25.2 to protect the health and safety of all
Washingtonians; and

WHEREAS, the worldwide COVID-19 pandemic and its progression in Washington State
continue to threaten the life and health of our people as well as the economy of
Washington State, and remain a public disaster affecting life, health, property or the public
peace; and

WHEREAS, the Washington State Department of Health continues to maintain a Public
Health Incident Management Team in coordination with the State Emergency Operations
Center and other supporting state agencies to manage the public health aspects of the
incident; and

WHEREAS, the Washington State Military Department Emergency Management
Division, through the State Emergency Operations Center, continues coordinating
resources across state government to support the Department of Health and local health
officials in alleviating the impacts to people, property, and infrastructure, and continues
coordinating with the Department of Health in assessing the impacts and long-term effects
of the incident on Washington State and its people.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of
the above-noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby
proclaim and order that a State of Emergency continues to exist in all counties of
Washington State, that Proclamation 20-05 and all amendments thereto remain in effect as
otherwise amended, and that, to help preserve and maintain life, health, property or the
public peace pursuant to RCW 43.06.220(1)(h), Proclamations 20-25, 20-25.1 and 20-25.2
(Stay Home – Stay Healthy) are amended to extend all of the prohibitions and each
expiration date therein to May 31, 2020, except for those prohibitions regarding the
specific activities listed below. All other provisions of Proclamations 20-25, 20-25.1, 20-
25.2 shall remain in full force and effect.

FURTHERMORE, in collaboration with the Washington State Department of Health, and
based on analysis of the data and epidemiological modeling, I have established a phased-in
approach to re-opening Washington State, which can be found in the Safe Start
Washington re-opening plan here; and, while all counties are currently in Phase I, counties
with a population of less than 75,000 that have not identified a resident with COVID-19
the three most recent consecutive weeks, may request an exemption from specific aspects
of the remaining prohibitions of this Proclamation by submitting a variance application to
the Secretary of the Washington State Department of Health in compliance with the
requirements found in the Safe Start Washington re-opening plan.
       Case 2:20-cv-00983-TSZ Document 75-3 Filed 02/07/22 Page 5 of 6




FURTHERMORE, while I continue to permit remote spiritual and religious services, and
while I continue to classify religious counseling as an essential activity that may be
conducted in person if it is not possible to provide those counseling services remotely, I
now hereby order that religious services may also be provided as a drive-in service, with
one household per vehicle, but only so long as participants fully comply with requirements
that will be issued as soon as possible, but no later than May 15, 2020, and with the social
distancing requirements and coronavirus related hygiene recommended by the Washington
State Department of Health.

FURTHERMORE, I continue to permit the low-risk activities previously permitted,
including some outdoor recreation as reflected in Emergency Proclamation 20-25.2 and its
accompanying guidance materials issued April 27, 2020, as well as the business activities
reflected or clarified in formal guidance documents issued on March 25, 2020
(construction), March 27, 2020 (real estate and mortgage), March 31, 2020 (general
guidance) and April 29, 2020 (construction).

FURTHERMORE, I hereby order that the data and science supports re-opening
additional low-risk activities during Phase I, including the business activities listed below.
Re-opening these low-risk activities may occur when participants are able to fully comply
with the industry-specific requirements that will be issued as soon as possible but no later
than May 15, 2020, which, at a minimum, will require compliance with the social
distancing and hygiene requirements indicated by the Washington State Department of
Health:

       Landscaping and lawn care
       Vehicle and vessel sales
       Pet walking
       Retail (curb-side pick-up orders only)
       Car washes

FURTHERMORE, in collaboration with the Washington State Department of Health, in
furtherance of the physical, mental, and economic well-being of all Washingtonians, I will
continue to analyze the data and epidemiological modeling and adjust the Safe Start
Washington re-opening plan accordingly.

I again direct that the plans and procedures of the Washington State Comprehensive
Emergency Management Plan be implemented throughout state government. State
agencies and departments are directed to continue utilizing state resources and doing
everything reasonably possible to support implementation of the Washington State
Comprehensive Emergency Management Plan and to assist affected political subdivisions
in an effort to respond to and recover from the COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to
include the National Guard and the State Guard, or such part thereof as may be necessary
in the opinion of The Adjutant General to address the circumstances described above, to
perform such duties as directed by competent authority of the Washington State Military
     Case 2:20-cv-00983-TSZ Document 75-3 Filed 02/07/22 Page 6 of 6




Department in addressing the outbreak. Additionally, I continue to direct the Department
of Health, the Washington State Military Department Emergency Management Division,
and other agencies to identify and provide appropriate personnel for conducting necessary
and ongoing incident related assessments.

All persons are again reminded that no credentialing program or requirement applies to any
activities or operations under this Proclamation.

Violators of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).
Further, if people fail to comply with the required social distancing while engaging in the
phased modifications of the mandatory social distancing requirements, I may be forced to
reinstate the prohibitions established in earlier proclamations.

Signed and sealed with the official seal of the state of Washington on this 4th day of May,
A.D., Two Thousand and Twenty at Olympia, Washington.

                                                     By:


                                                             /s/
                                                     Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
